              IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

MARIA M. GIVENS, as Personal           )
Representative of the Estate of        )
Raymond C. Givens,                     )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )
                                       )
JOSEPH DELIA,                          ) Case No. 3:23-cv-00121-HRH
                                       )
            Defendant.                 )
                                       )

   (PROPOSED) ORDER GRANTING UNOPPOSED MOTION FOR
           LEAVE TO FILE EXHIBITS UNDER SEAL

      The Defendant’s Unopposed Motion for Leave to File Exhibits Under

Seal is GRANTED. The Defendant’s Sealed Declaration of Andrew Erickson

and Exhibits B, G, H, and I, lodged at Docket Nos. ___________________ are

accepted as filed under seal..

      IT IS SO ORDERED.

      DATED this _______ day of ______________, 2025, at Anchorage, Alaska.



                                     ________________________________
                                     The Honorable H. Russel Holland
                                     United States District Judge


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